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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
DEMETRIUS POUNCY, JR.,                  )
                                        )
      Plaintiff,                        )    Case No: 15-cv-1840
      v.                                )
                                        )    Judge Robert M. Dow, Jr.
CITY OF CHICAGO, et al.                 )
                                        )
      Defendants.                       )    JURY DEMANDED

                                         JUDGMENT

       Pursuant to FED.R.CIV.P. 58, JUDGMENT is hereby entered in favor of Plaintiff

Demetrius Pouncy, Jr., and against Defendants Patrick Ford, Timothy O’Brien, and the City of

Chicago, in the amount of $15,001.00 plus reasonable attorney’s fees and costs accrued as of

June 7, 2016, in an amount to be determined by the Court.




                                     _________________________________
                                     ROBERT M. DOW, JR.
                                     DISTRICT JUDGE
                                     UNITED STATES DISTRICT COURT

DATE: __________________




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